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                                         #2479



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

   UNITED STATES OF AMERICA,                     )
                                                 )
                  Plaintiff,                     )
                                                 )
   vs.                                           )     CR. NO. 04-40043-026-JLF
                                                 )
   KEVIN A. GILL,                                )
                                                 )
                  Defendant.                     )

                ORDER ADOPTING REPORT AND RECOMMENDATION

   FOREMAN, District Judge:

          Pursuant to 28 U.S.C. § 636 and upon defendant’s consent, (Doc.831), this case was

   referred to United States Magistrate Judge Donald G. Wilkerson to conduct a plea hearing. No

   objections have been filed to the Report and Recommendation, which was filed on May 16,

   2006 (Doc.847). Upon review of the Report and Recommendation, the Court finds that the

   guilty plea hearing was conducted in accordance with the requirements of Federal Rule of

   Criminal Procedure 11, that defendant is fully competent and capable of entering an informed

   plea, and that his plea of guilty is a knowing and voluntary plea supported by an independent

   basis in fact containing each of the essential elements of the offense. Accordingly, the Court

   ADOPTS the Report and Recommendation, (Doc.847), and ACCEPTS defendant’s plea of

   guilty. The Court adjudicates defendant guilty of Count I of the Second Superseding

   Indictment, and DIRECTS that a presentence report be prepared. Sentencing is scheduled for

   August 14, 2006, 1:30 p.m.

          IT IS SO ORDERED.                             s/ James L. Foreman
          DATED: June 7, 2006.                          DISTRICT JUDGE
